     Case: 1:17-cv-07835 Document #: 43 Filed: 07/24/19 Page 1 of 1 PageID #:106

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Shanell Corley
                                    Plaintiff,
v.                                                      Case No.: 1:17−cv−07835
                                                        Honorable Susan E. Cox
United States of America
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 24, 2019:


        MINUTE entry before the Honorable Susan E. Cox: Motion hearing held.
Plaintiff's motion to approve settlement and distribution of settlement funds [41] is
granted. Plaintiff's attorney indicated that he has already received funds from the
defendant, and will distribute them as provided in his motion. As such, this case is hereby
dismissed with prejudice. Civil case terminated. Mailed notice (mw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
